Case 3:20-mj-00086 Document 5 Filed 11/19/20 E» 1 of.

AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

   

   

 
 

for the
Southern District of West Virginia CCA r=
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“Fi fio, 2
In the Matter of the Search of ) St Rew Fs
) .
Case No 3:20-mj-09086/ NOY
Information associated with Marshall University (Email: J | 9 2020
nassy@marshall.edu) that is stored at premises controlled by )
Marshall University, c/o Office of General Counsel, Old Main 216, ) RORY PEAR
. PER Y Hl, CLEA

1 John Marshall Dr., Huntington, WV 25755

'S. District Co,

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Suthern District Of West Vj,

APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that ] have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.

 

located in the ____ Southern............. _ District of __West Virginia... .... » there is now concealed (identify the

person or describe the property to be seized):

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
ow contraband, fruits of crime, or other items illegally possessed;
© property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 1341/1343/1344 Mail/Wire/Bank Fraud
18 U.S.C. §.1956/1957 Money Laundering
31 U.S.C. § 5324 Structuring

The application is based on these facts:

See Affidavit attached hereto.

of Continued on the attached sheet.

O Delayed notice of ___ days (give exact ending date if more than 30 days: __. ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

  
 
  

 

 

ts signature

eremy Thompson, US Secret Service TFO _
. . \ Printed name and title
by telephonic means.
Sworn to before me and-signed in my-presence:

 

Date: ......41/19/2020

_Eifert, United States Magistrate Judge __

City and state: Huntington, West Virginia ite h
Printed name and title
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ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with nassy@marshall.edu; that is stored at
premises owned, maintained, controlled, or operated by Marshall University, a university, the
Office of General Counsel located at Old Main 216, 1 John Marshall Drive, Huntington, WV
25755
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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Marshall University (the “Provider’”)

To the extent that the information described in Attachment A is within the possession,
custody, or control of the Provider, regardless of whether such information is located within or
outside of the United States, and including any emails, records, files, logs, or information that has
been deleted but is still available to the Provider, or has been preserved pursuant to a request made
under 18 U.S.C. § 2703(f), the Provider is required to disclose the following information to the
government for each account or identifier listed in Attachment A:

a, The contents of all emails associated with the account from February 23, 2017
through April 28, 2020, including stored or preserved copies of emails sent to and from the
account, draft emails, the source and destination addresses associated with each email, the date
and time at which each email was sent, and the size and length of each email;

b. All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers, records of session
times and durations, the date on which the account was created, the length of service, the IP address
used to register the account, log-in IP addresses associated with session times and dates, account
status, alternative email addresses provided during registration, methods of connecting, log files,
and means and source of payment (including any credit or bank account number); .

c. The types of service utilized;

d. All records or other information stored by an individual using the account,
including address books, contact and buddy lists, chats and data, calendar data, pictures, files and

web & App activity logs
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e. All records pertaining to communications between the Provider and any person
regarding the account, including contacts with support services and records of actions taken.

The Provider is hereby ordered to disclose the above information to the government within
14 days of issuance of this warrant.

Il. Information to be seized by the government

All information described above in Section I that constitutes evidence of violations of 18
United States Code (U.S.C.) §§ 371, 1341, 1343, 1344, 1349,1956-1957, as well as 31 U.S.C.
§ 5324, those violations involving Kenneth Chukunomnazu EMENI, John Rabesh NASSY, Abdul
Illal OSUMANU, Augustine C Chukwu Noe AMECHI, also known as Augustine A Chukwu Noe,
Kenneth Oseme OGUDU also known as Kenneth Lee, Oluwagbenga Temitope HARRISON,
Kayode Gbolahan AKANBI, Abiodun Oluwatosin AFOLABI also known as Benik Afobe, and
Oluwabanishe Taofik AWOLESI and occurring after February 23, 2017 until April 28, 2020,
including, for each account or identifier listed on Attachment A, information pertaining to the
following matters:

(a) Any and all communications between these email addresses:

 

 

 

 

 

 

 

 

 

mark williams3672@gmail.com; johncolns286@gmail.com;
bindaryautotrade65@gmail.com; tosiopz@yahoo.com
smithinayee@gmail.com; baawelosi@gmail.com
Olrobbenjack@gmail.com:; ginar4940@gmail.com;
jackwils1598@gmail.com; 411082427@gmail.com;
tichardclem! 21@gmail.com; emenikennethS@gmail.com;
Lamidal01@gmail.com; rabeshn@yahoo.com;
billblancol965@gmail.com; nassy(@marshall.edu;
teddydrey90@gmail.com; illalcapito28@yahoo.com

 

 
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achukwu45@yahoo.com martinun242(@gmail.com
b.mastermind2016@gmail.com harrisonoluwagbenga@gmail.com

 

 

kennethogudu52@gmail.com

(b) Any and all communications with financial institutions, such as JP Morgan Chase
Bank, Huntington Federal Savings Bank, Huntington National Bank, Fifth Third
Bank, Bank of America, TD Bank, City National Bank, SunTrust Bank, Unify
Financial Credit Union, Louisiana Federal Credit Union, Key Bank, and BB&T

(c) Any and all communications with companies, such as Zelle, Xoom, Venmo,
Remitly, World Remit, Boss Revolution, TransferWise, Ping Express, Western
Union, Square, Cash App, and WalMart

(d) Any and all communications with Fed Ex and UPS;

(e) Any and all communications regarding package deliveries;

(f) Evidence indicating how and when the email account was accessed or used, to
determine the geographic and chronological context of account access, use, and
events relating to the crime under investigation and to the email account owner;

(g) Evidence indicating the email account owner’s state of mind as it relates to the
crime under investigation;

(h) The identity of the person(s) who created or used the user ID, including records that
help reveal the whereabouts of such person(s).

(i) The identity of the person(s) who communicated with the user ID about matters
relating to mail/wire/bank fraud and money laundering, including records that help

reveal their whereabouts.

 
